           E-FILED 2021 MAR 09 12:08 PM BLACK HAWK - CLERK OF DISTRICT COURT




      THE IOWA DISTRICT COURT IN AND FOR BLACK HAWK COUNTY

JONATHAN DAVIS and ALEXANDER                   )
HOLMES,                                        )                         Case No.:
                                               )
      PLAINTIFFS,                              )
                                               )
vs.                                            )
                                               )                         COMPLAINT AND
                                               )                         JURY DEMAND
J & L INVESTMENTS, INC. d/b/a                  )
MCDONALD’S; JOHN FREYBERGER,                   )
SCOTT AMES, and JEDIDIAH KEA,                  )
Individually and in their Corporate            )
Capacities;                                    )
                                               )
      DEFENDANTS.                              )


      COMES NOW the Plaintiffs, Jonathan Davis and Alexander Holmes

(hereinafter Davis and Holmes), by and through their attorney Gregory F. Greiner,

and for this cause of action against J & L Investments, Inc. d/b/a McDonald’s

(hereinafter McDonald’s), and John Freyberger (hereinafter Freyberger), Scott

Ames (hereinafter Ames), Jedidiah Kea (hereinafter Kea), Individually and in their

Corporate Capacities, states as follows:

                                  INTRODUCTION

      1.      This is a complaint that involves allegations under Iowa Civil Rights Act,

Iowa Code Chapter 216, et. seq., and associated claims involving Defendants’ tortious

actions.

      2.      Plaintiff Davis is and was at all times material hereto a resident of

Waterloo, Black Hawk County, Iowa.

                                          1
                                       EXHIBIT
                                                    exhibitsticker.com




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      3.      Plaintiff Holmes is and was at all times material hereto a resident of

Waterloo, Black Hawk County, Iowa.

      4.      McDonald’s conducts business in Iowa as a domestic profit corporation,

and has its place of business in Waterloo, Black Hawk County, Iowa.

      5.      Upon information and belief, Mr. Freyberger is and was at all times

material hereto a resident of Iowa, is an owner of McDonald’s and personally

participated in the unlawful actions set forth herein.

      6.      Upon information and belief, Mr. Ames is and was at all times material

hereto a resident of Iowa, is an employee of McDonald’s and personally participated in

the unlawful actions set forth herein.

      7.      Upon information and belief, Mr. Kea is and was at all times material

hereto a resident of Iowa, is an employee of McDonald’s and personally participated in

the unlawful actions set forth herein.

      8.      The amount in controversy exceeds the jurisdictional requirements of the

Iowa District Court in and for Black Hawk County.

   EXHAUSTION OF ADMINISTRATIVE REMEDIES AND CONDITIONS
                        PRECEDENT

      9.      Plaintiffs replead the allegations set forth as if fully set forth herein.

      10.     Plaintiffs filed timely charges of discrimination against the Defendants

with the Iowa Civil Rights Commission.

      11.     Less than 90 days prior to the filing of this Petition, the Iowa Civil Rights

Commission issued a right to sue letter with respect to the Plaintiffs.

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        12.   All conditions precedent to Plaintiffs’ claims for relief have been

performed or have occurred.

                                         FACTS

        13.   Plaintiffs replead the allegations set forth as if fully set forth herein.

        14.   Plaintiffs are African American and have dark colored skin.

        15.   Plaintiff Davis began working as a cook at McDonald’s in approximately

March 2018.

        16.   Plaintiff Holmes began working as a cook at McDonald’s in about April

2019.

        17.   On May 31, 2019, Plaintiffs worked a shift along with other employees at

the McDonald’s and Defendant Kea was supervising the shift.

        18.   While Plaintiffs were cooking at the restaurant grills, a cowbell sound

rung, signaling that they needed to make a double quarter pound hamburger.

        19.   After the bell rung, Defendant Kea stated in a voice loud enough for all

employees to hear, “Can I get a thank you?”

        20.   None of the McDonald’s employees responded to Defendant Kea.

        21.   Defendant Kea then stated, “So ya’ll ain’t gonna answer me?”

        22.   Plaintiff Holmes responded, “Who is you talking to?”

        23.   Defendant Kea loudly responded, “you two motherfuckers!” and pointed at

Plaintiffs Davis and Holmes.




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        24.   Plaintiffs Davis and Holmes were shocked by Defendant Kea’s statements

and tone and did not immediately respond.

        25.   Defendant Kea then yelled at them to clock out.

        26.   Plaintiff Davis was embarrassed by Defendant Kea’s statements and tone

and asked Defendant Kea to go outside to discuss what was happening.

        27.   Defendant Kea did not respond back to Plaintiff Davis’ request to discuss

what was happening.

        28.   Defendant Kea then went to the restaurant’s office and called district

manager, Scott Ames.

        29.   When Defendant Kea returned he told Plaintiffs that Scott Ames

instructed them to clock out, or they would be escorted out by the police.

        30.   Plaintiffs left the restaurant.

        31.   Plaintiffs then scheduled a meeting with Defendants Freyberger and

Ames with the goal of retaining their jobs at McDonald’s.

        32.   Plaintiffs requested to have an attorney present at the meeting, and

at the time of the planned meeting Defendants Freyberger and Ames cancelled the

meeting and thereafter notified the Plaintiffs that they were fired on or about June 3,

2019.

        33.   Defendant Freyberger told Plaintiffs that they were fired because they

argued with Defendant Kea and threatened violence.

        34.   Plaintiffs never argued with Defendant Kea or threatened violence.


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         35.   Defendant Kea habitually treated African American employees differently

from the other Caucasian employees, including excluding the African American

employees from shift meetings.

         36.   Defendants also treated Caucasian employees differently by using

different disciplinary actions in response to Caucasian employees who committed

alleged workplace misconduct.

         37.   Defendants discriminated against Plaintiffs due to their race and skin

color.

         38.   Defendants violated Plaintiffs right to be free of workplace discrimination.

         39.   Plaintiffs have been damaged financially and emotionally.

 FIRST CAUSE OF ACTION: VIOLATION OF IOWA CIVIL RIGHTS ACT
 BASED UPON DISCRIMINATION IN EMPLOYMENT ON THE BASIS OF
                   RACE AND SKIN COLOR

         40.   Plaintiffs replead the allegations set forth as if fully set forth herein.

         41.   This claim is brought by Plaintiffs against Defendants for violations of the

Iowa Civil Rights Act, Iowa Code Chapter 216, et. seq., on the basis race and skin color

discrimination in employment.

         42.   Plaintiffs were discriminated against based upon their race and skin color

by Defendants.

         43.   Due to their race and skin color, Plaintiffs are members of a covered

group.




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       44.    Defendants subjected Plaintiffs to a hostile work environment and

terminated them on or about June 3, 2019.

       45.    Plaintiffs’ race and skin color were motivating factors for the harassment,

discrimination, and wrongful termination.

       46.    But for Plaintiffs’ race and skin color they would not have been harassed,

discriminated against, and wrongfully terminated by the Defendants.

       47.    The hostile actions taken by the Defendants were done with the intent to

discriminate against the Plaintiffs and Defendants stated reasons for terminating the

Plaintiffs were a pretext to hide race and skin color discrimination.

       48.    The Defendants acted with willfulness, malice, or reckless disregard to the

Plaintiffs’ rights not to be discriminated against on the basis of race and skin color.

       49.    Because of the Defendants’ actions, Plaintiffs have suffered injuries, to

include but not limited liquidated damages for lost wages and benefits and future lost

income and benefits.

       WHEREFORE Plaintiff demands judgment against Defendants in an amount

which will fully and fairly compensate Plaintiff’s for their injuries and damages,

including lost wages, mental anguish, damage to reputation, and punitive damages, for

appropriate equitable relief, for prejudgment and post judgment interest, for attorney

fees, including litigation expenses, for the costs of this action, and for such other relief

as may be just in the circumstances and consistent with the purpose of the Iowa Civil

Rights Act.


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      SECOND CAUSE OF ACTION: VIOLATION OF TITLE VII,
DISCRIMINATION IN EMPLOYMENT ON THE BASIS OF RACE AND SKIN
                         COLOR

         50.   Plaintiffs replead the allegations set forth as if fully set forth herein.

         51.   This claim is brought by Plaintiffs against Defendants for violations of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et. seq., on the basis race

and skin color discrimination in employment.

         52.   Plaintiffs were discriminated against based upon their race and skin color

by Defendants.

         53.   Due to their race and skin color, Plaintiffs are members of a covered

group.

         54.   Defendants subjected Plaintiffs to a hostile work environment and

terminated them on or about June 3, 2019.

         55.   Plaintiffs’ race and skin color were motivating factors for the harassment,

discrimination, and wrongful termination.

         56.   But for Plaintiffs’ race and skin color they would not have been harassed,

discriminated against, and wrongfully terminated by the Defendants.

         57.   The hostile actions taken by the Defendants were done with the intent to

discriminate against the Plaintiffs and Defendants stated reasons for terminating the

Plaintiffs were a pretext to hide race and skin color discrimination.

         58.   The Defendants acted with willfulness, malice, or reckless disregard to the

Plaintiffs’ rights not to be discriminated against on the basis of race and color.


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         59.   Because of the Defendants’ actions, Plaintiffs have suffered injuries, to

include but not limited liquidated damages for lost wages and benefits and future lost

income and benefits.

         WHEREFORE Plaintiff demands judgment against Defendants in an amount

which will fully and fairly compensate Plaintiff’s for their injuries and damages,

including lost wages, mental anguish, damage to reputation, and punitive damages, for

appropriate equitable relief, for prejudgment and post judgment interest, for attorney

fees, including litigation expenses, for the costs of this action, and for such other relief

as may be just in the circumstances and consistent with the purpose of Title VII of the

Civil Rights Act of 1964.

  THIRD CAUSE OF ACTION: VIOLATION OF EQUAL RIGHTS UNDER
    THE LAW, 42 U.S.C. § 1981, BASED UPON DISCRIMINATION IN
      EMPLOYMENT ON THE BASIS OF RACE AND SKIN COLOR

         60.   Plaintiffs replead the allegations set forth as if fully set forth herein.

         61.   This claim is brought by Plaintiffs against Defendants for violations of the

Equal Rights Under the Law, 42 U.S.C. § 1981, et. seq., on the basis race and skin color

discrimination in employment.

         62.   Plaintiffs were discriminated against based upon their race and skin color

by Defendants.

         63.   Due to their race and skin color, Plaintiffs are members of a covered

group.




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       64.    Defendants subjected Plaintiffs to a hostile work environment and

terminated them on or about June 3, 2019.

       65.    Plaintiffs’ race and skin color were motivating factors for the harassment,

discrimination, and wrongful termination.

       66.    But for Plaintiffs’ race and skin color they would not have been harassed,

discriminated against, and wrongfully terminated by the Defendants.

       67.    The hostile actions taken by the Defendants were done with the intent to

harass the Plaintiffs and Defendants stated reasons for terminating the Plaintiffs were

a pretext to hide race and color discrimination.

       68.    The Defendants acted with willfulness, malice, or reckless disregard to the

Plaintiffs’ rights not to be discriminated against on the basis of race and color.

       69.    Because of the Defendants’ actions, Plaintiffs have suffered injuries, to

include but not limited liquidated damages for lost wages and benefits and future lost

income and benefits.

       WHEREFORE Plaintiff demands judgment against Defendants in an amount

which will fully and fairly compensate Plaintiff’s for their injuries and damages,

including lost wages, mental anguish, damage to reputation, and punitive damages, for

appropriate equitable relief, for prejudgment and post judgment interest, for attorney

fees, including litigation expenses, for the costs of this action, and for such other relief

as may be just in the circumstances and consistent with the purposes of 42 U.S.C. §

1981, Equal Rights Under the Law.


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                           JURY DEMAND

70.   Plaintiffs hereby request a trial by jury.


                                 By: /s/ Gregory F. Greiner, AT0003094
                                 Attorney for Plaintiffs
                                 5550 Wild Rose Lane, Suite 400
                                 West Des Moines, IA 50266
                                 Phone: (515) 650-4399
                                 Fax: (515) 650-4388
                                 Email: greg@recovery-lawyers.com




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        THE IOWA DISTRICT COURT IN AND FOR BLACK HAWK COUNTY

JONATHAN DAVIS and ALEXANDER                           )
HOLMES,                                                )       Case No.: LACV142246
                                                       )
       PLAINTIFFS,                                     )
                                                       )
vs.                                                    )
                                                       )       ORIGINAL NOTICE
                                                       )
J & L INVESTMENTS, INC. d/b/a                          )
MCDONALD’S; JOHN FREYBERGER,                           )
SCOTT AMES, and JEDIDIAH KEA,                          )
Individually and in their Corporate                    )
Capacities;                                            )
                                                       )
       DEFENDANTS.                                     )

       TO:     Scott Ames                              Work Address:
               121 Lovejoy Ave                         2016 Howard Avenue
               Waterloo, IA 50701                      Waterloo, IA 50702

       You are notified that a petition has been filed in the office of the clerk of this court naming
you as the defendant(s) in this action. A copy of the petition (and any documents filed with it) is
attached to this notice. The name and address of the attorney for the plaintiff(s) is Gregory F.
Greiner, 5550 Wild Rose Lane, Suite 400, West Des Moines, IA 50266. The attorney's phone
number is (515) 650-4399; facsimile number is (515) 650-4388.

        You are further notified that the above case has been filed in a county that utilizes electronic
filing. Unless, within 20 days after service of this original notice upon you, you serve, and within a
reasonable time thereafter file a motion or answer, in the Iowa District Court for Black Hawk
County, at the courthouse in Waterloo, Iowa, judgment by default will be rendered against you for
the relief demanded in the petition. Please see Iowa Court Rules Chapter 16 for information on
electronic filing and Iowa Court Rules Chapter 16, division VI regarding the protection of personal
information in court filings.


        If you require the assistance of auxiliary aids or services to participate in court because of a
disability, immediately call your district ADA coordinator at (319) 833-3332. (If you are hearing
impaired, call Relay Iowa TTY at 1-800-735-2942)

IMPORTANT: YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT
YOUR INTERESTS




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STATE OF IOWA JUDICIARY                                                      Case No.   LACV142246
                                                                             County     Black Hawk
Case Title    JONATHAN DAVIS ET AL VS J & L INVESTMENTS ET AL

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
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FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




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ADA coordinator at (319) 833-3332 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued    03/12/2021 11:19:31 AM




District Clerk of Black Hawk                 County

/s/ Vanessa Rosauer



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        THE IOWA DISTRICT COURT IN AND FOR BLACK HAWK COUNTY

JONATHAN DAVIS and ALEXANDER                           )
HOLMES,                                                )       Case No.: LACV142246
                                                       )
       PLAINTIFFS,                                     )
                                                       )
vs.                                                    )
                                                       )       ORIGINAL NOTICE
                                                       )
J & L INVESTMENTS, INC. d/b/a                          )
MCDONALD’S; JOHN FREYBERGER,                           )
SCOTT AMES, and JEDIDIAH KEA,                          )
Individually and in their Corporate                    )
Capacities;                                            )
                                                       )
       DEFENDANTS.                                     )

       TO:     John Freyberger
               2016 Howard Avenue
               Waterloo, IA 50702

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you as the defendant(s) in this action. A copy of the petition (and any documents filed with it) is
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STATE OF IOWA JUDICIARY                                                      Case No.   LACV142246
                                                                             County     Black Hawk
Case Title    JONATHAN DAVIS ET AL VS J & L INVESTMENTS ET AL

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Date Issued    03/12/2021 11:19:31 AM




District Clerk of Black Hawk                 County

/s/ Vanessa Rosauer



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        THE IOWA DISTRICT COURT IN AND FOR BLACK HAWK COUNTY

JONATHAN DAVIS and ALEXANDER                           )
HOLMES,                                                )       Case No.: LACV142246
                                                       )
       PLAINTIFFS,                                     )
                                                       )
vs.                                                    )
                                                       )       ORIGINAL NOTICE
                                                       )
J & L INVESTMENTS, INC. d/b/a                          )
MCDONALD’S; JOHN FREYBERGER,                           )
SCOTT AMES, and JEDIDIAH KEA,                          )
Individually and in their Corporate                    )
Capacities;                                            )
                                                       )
       DEFENDANTS.                                     )

       TO:     Registered Agent:
               J & L Investments, Inc.
               Attn: John Freyberger
               2016 Howard Avenue
               Waterloo, IA 50702

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STATE OF IOWA JUDICIARY                                                      Case No.   LACV142246
                                                                             County     Black Hawk
Case Title    JONATHAN DAVIS ET AL VS J & L INVESTMENTS ET AL

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Date Issued    03/12/2021 11:19:31 AM




District Clerk of Black Hawk                 County

/s/ Vanessa Rosauer



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        THE IOWA DISTRICT COURT IN AND FOR BLACK HAWK COUNTY

JONATHAN DAVIS and ALEXANDER                           )
HOLMES,                                                )       Case No.: LACV142246
                                                       )
       PLAINTIFFS,                                     )
                                                       )
vs.                                                    )
                                                       )       ORIGINAL NOTICE
                                                       )
J & L INVESTMENTS, INC. d/b/a                          )
MCDONALD’S; JOHN FREYBERGER,                           )
SCOTT AMES, and JEDIDIAH KEA,                          )
Individually and in their Corporate                    )
Capacities;                                            )
                                                       )
       DEFENDANTS.                                     )


       TO:     Jedidiah Kea                            Work Address:
               1104 W 5th Street                       2016 Howard Avenue
               Waterloo, IA 50702                      Waterloo, IA 50702

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you as the defendant(s) in this action. A copy of the petition (and any documents filed with it) is
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             E-FILED 2021 MAR 12 11:19 AM BLACK HAWK - CLERK OF DISTRICT COURT




STATE OF IOWA JUDICIARY                                                      Case No.   LACV142246
                                                                             County     Black Hawk
Case Title    JONATHAN DAVIS ET AL VS J & L INVESTMENTS ET AL

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If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (319) 833-3332 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued    03/12/2021 11:19:31 AM




District Clerk of Black Hawk                 County

/s/ Vanessa Rosauer



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